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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                    EASTERN            District of     CALIFORNIA

                    United States of America
                               v.                                          )
                                                                           )    Case No:       1:06CR00269-001 LJO
                      MANUEL BURCIAGA                                      )
                                                                           )    USM No: 63025-097
Date of Original Judgment:         05/19/2008                              )
Date of Previous Amended Judgment:                                         )    David M. Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         DENIED.       GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                                     84 months Count 2, 60                                               70 Months Count 2, 60 Months
the last judgment issued) of       months Count 3,144 months           months is reduced to                  Counts 3, 130 months                 .
                                     to be served consecutively                                              to be served consecutively
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          05/19/2008           shall remain in effect.
IT IS SO ORDERED.

Order Date:               5/28/2015                                                /s/ Lawrence J. O'Neill
                                                                                                       Judge’s signature


Effective Date:                11/01/2015                                         Honorable Lawrence J. O'Neill, District Court Judge
